            Case 3:23-cv-05928-BHS Document 7 Filed 11/21/23 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON


CHRISTOPHER C. JOHNSON,                       Case No.: 3:23-cv-05928-BHS

                Plaintiff,                     DISMISSAL WITH PREJUDICE FOR
                                              TUCKER, ALBIN & ASSOCIATES
       vs.                                    INC.
TUCKER ALBIN & ASSOCIATES INC,
ET AL .,


                Defendant.



                                             I. Dismissal

       Plaintiff, Christopher C. Johnson, pursuant to Rule 41(a)(1)(A)(ii), hereby dismisses with

prejudice all claims and causes of action asserted against defendant Tucker Albin & Associates

INC, in the above numbered captioned action, with each party to bear its own cost. Both parties

have settled.


 Dated this 21sty day of November, 2023.


 PLAINTIFF PRO SE


 /s/ Christopher C. Johnson
 Chrisopher C. Johnson
 Plaintiff Pro Se




DISMISSAL
